           Case 1:16-vv-00127-UNJ Document 51 Filed 09/29/17 Page 1 of 7




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0127V
                                      Filed: March 3, 2017
                                         UNPUBLISHED

****************************
PARIS HENDERSON,                       *
                                       *
                   Petitioner,         *      Joint Stipulation on Damages;
v.                                     *      Tetanus-Diphtheria-Acellular Pertussis
                                       *      (“Tdap”) and Measles-Mumps-Rubella
SECRETARY OF HEALTH                    *      (“MMR”) Vaccines; Shoulder Injury
AND HUMAN SERVICES,                    *      Related to Vaccine Administration
                                       *      (“SIRVA”); Special Processing Unit
                   Respondent.         *      (“SPU”)
                                       *
****************************
Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for petitioner.
Linda Sara Renzi, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

       On January 27, 2016, Paris Henderson (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleges that she developed cellulitis
and a shoulder injury related to vaccine administration (“SIRVA”) as a result of receiving
a Tetanus-diphtheria-acellular pertussis (“Tdap”) and measles-mumps-rubella (“MMR”)
vaccines on July 16, 2014. Petition at 1; Stipulation, filed March 3, 2017, at ¶ 4.
Petitioner further alleges that she experienced the residual effects of her injury for more
than six months. Stipulation at ¶ 4. “Respondent denies that the Tdap and/or MMR
immunizations are the cause of petitioner’s alleged cellulitis, SIRVA or any other injury,
or her current condition.” Stipulation at ¶ 6.

       Nevertheless, on March 3, 2017, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:16-vv-00127-UNJ Document 51 Filed 09/29/17 Page 2 of 7



finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        (a) A lump sum of $110,000.00, in the form of a check payable to petitioner.
            Stipulation at ¶ 8. This amount represents compensation for all items of
            damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

        (b) A lump sum of $3,977.32, which amount represents reimbursement of a lien
            for services rendered on behalf of petitioner, in the form of a check payable
            jointly to petitioner and

                                 The Commonwealth of Virginia
                                 Department of Medical Assistance Services
                                 Accounts Receivable, TPL Unit, 8th Fl
                                 600 East Broad Street
                                 Richmond, Virginia 23219
                                 Attn: Marcie Hill-Johnson

        Petitioner agrees to endorse the check to the Commonwealth of Virginia.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
Case 1:16-vv-00127-UNJ Document 51 Filed 09/29/17 Page 3 of 7
Case 1:16-vv-00127-UNJ Document 51 Filed 09/29/17 Page 4 of 7
Case 1:16-vv-00127-UNJ Document 51 Filed 09/29/17 Page 5 of 7
Case 1:16-vv-00127-UNJ Document 51 Filed 09/29/17 Page 6 of 7
Case 1:16-vv-00127-UNJ Document 51 Filed 09/29/17 Page 7 of 7
